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                              Exhibit 2004

Prepared by     JoMeta Spencer,
                Ada County Deputy Clerk

            Data for 2010 Primary Election, Ada County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                       201,313
Number of Voters Who Registered on Election Day                    3,011
Number of Voters in Primary Election                              43,958
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                       36,255
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                 708
Number of Precincts in County                                       141
Number of Paid Election Officials for Primary Election              660

            Data for 2008 Primary Election, Ada County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                       187,045
Number of Voters Who Registered on Election Day                   2,562
Number of Voters in Primary Election                             39,518
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                       29,181
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                 890
Number of Precincts in County                                       141
Number of Paid Election Officials for Primary Election              812




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           Estimated Costs for Re-registering Voters to Provide
           Option to Declare Affiliation with Republican Party
           Costs of Processing Registration Cards Estimated at
          Quartiles for 25%, 50%, 75% and 100% of Voters Re-
           registering with Complete Registration Information,
                               Ada County
   Percent       Number            Minutes to Enter Data          Election Worker’s     Total Costs
Re-registering   of Voters                                        Salary + Benefits
     25%          50,014       250,068.75 min = 4,167.81 hr           $22.31/hr         $ 92,983.90
     50%         100,028       500,137.50 min = 8,335.63 hr           $22.31/hr         $185,967.79
     75%         150,042       750,206.25 min = 12,503.44 hr          $22.31/hr         $278,951.69
    100%         200,055     1,000,275.00 min = 16,671.25 hr          $22.31/hr         $371,935.59
                                 Based on 5 mins per card


           Costs of Processing Registration Card Estimated at
          Quartiles for 25%, 50%, 75% and 100% of Voters Re-
          registering with Incomplete Registration Information,
                               Ada County
   Percent       Number          Minutes to Enter Data and           Election          Total Costs
Re-registering   of Voters       Gather More Information          Worker’s Salary
                                                                    + Benefits
     25%           50,014       300,082.50 min = 5,001.38 hr        $22.31/hr         $111,580.68
     50%          100,028       600,165.00 min = 10,002.75 hr       $22.31/hr         $223,161.35
     75%          150,042       900,247.50 min = 15,004.13 hr       $22.31/hr         $334,742.03
    100%          200,055     1,200,330.00 min = 20,005.50 hr       $22.31/hr         $446,322.71
                                  Based on 6 mins per card


     Costs of Printing and Mailing New Voter Registration Cards,
                            Ada County
   Number of          Printing Cost per Mailing Cost per  Total Cost per              Total Costs
Registered Voters            Card              Card             Card
200,055               $ .09/ card       $ .44/ card      $ .53/ card                $106,029.15

This cost is for 1st class postage. If a mailing house is used, bulk mail rates may be applied,
reducing the costs somewhat.




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Kinds of Elections That Can Be Held on Day of May Primary
Election in Even Numbered Years,
Ada County
    Contested Party Primaries (Mandatory)
    Judicial Elections (Mandatory)
    5 School Districts
    7 Cemetery Districts
    7 Fire Districts
    3 Library Districts
    5 Sewer Districts
    6 Cities
    1 Highway District
    1 Soil Conservation District
    1 Auditorium District
    1 Recreation District


     Costs of Printing Additional Ballots for Persons Who Decline
      to Identify with a Political Party and Wish to Vote in Other
                         Elections, Ada County

   Number of Ballots to Be         Cost per Ballot     Total Costs
          Printed
          30,000                    $ .28/ ballot      $ 8,400.00




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        Costs of Training Election Officials to Acquaint Them
       with Requirement to Declare Affiliation with Republican
            Party in Order Obtain Ballot with Republican
                   Candidates in Primary Election,
                             Ada County
Number of Persons to   Training Time Per      Election Worker’s     Total Costs
   be Trained                Person          Salary Plus Benefits
       735                30 minutes              $22.61/hr          $ 282.63
    Prep Time               4 hours               $22.61/hr          $ 90.44
We conduct approximately 25 group trainings, so the total time spent and cost is
reduced significantly.




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